   Case 1:21-cv-12039-IT Document 20 Filed 04/07/22 Page 1 of 3




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MASSACHUSETTS

____________________________________
MICHAEL BUSH                         )
                                     )
      Plaintiff                      )
                                     )
v.                                   )                  CIVIL ACTION NO:1:21-cv-12039-IT
                                     )
ACTON-BOXBOROUGH REGIONAL            )
SCHOOL DISTRICT and PETER LIGHT, )
SUPERINTENDENT OF THE ACTON          )
BOXBOROUGH REGIONAL SCHOOL )
DISTRICT                             )
                                     )
      Defendants                     )




PLAINTIFFF’S EMERGENCY MOTION FOR CONTINUANCE OF THE HEARING ON
 DEFENDANT’S MOTION TO DISMISS UNTIL THE WEEK OF APRIL 25, 2022 AND
             REQUEST FOR CONFIRMATION OF LIVE HEARING

       Now comes the Plaintiff and requests that this Court continue the hearing on the Motion to

Dismiss now scheduled for Friday, April 8, 2022 at 3:30 pm to a date during the week of April

25, 2022, and that Court affirm that parties and interested observers can attend in person. As

grounds for this request Plaintiff states as follows:

       The parties received notice of the hearing on a dispositive motion less than 48 hours prior

to the hearing, at a time which impacts Plaintiff’s counsel’s religious observances and which

provides for very little preparation time. Equally, this is not a “private” dispute, but a matter of

public interest in which members of the media and the community have expressed interest in

possibly attending the hearing—48 hours’ notice is not sufficient, and it has the effect of chilling

public attendance by the general public who have a right to know of the hearing and to attend if

they so choose. Plaintiff contends that there will be no harm in continuing this motion until the

                                                   1
   Case 1:21-cv-12039-IT Document 20 Filed 04/07/22 Page 2 of 3




week of April 25, 2022, which puts the matter after the week of Passover, when Plaintiff’s

counsel is not generally available.

       Equally, there is no basis, compelling or otherwise, for the hearing being remote or virtual

or anything but in-person; the Plaintiff does not consent to a remote hearing. Plaintiff has no

objection to opposing counsel or the opposing party participating remotely for good cause shown,

but Plaintiff contends that he cannot be excluded from in-court participation and in the hearing of

his petition. Ironically, this is a lawsuit which specifically challenges denial of right to access for

the purpose of public participation in a public space, and this motion similarly implicates rights of

public access.

       Plaintiff’s counsel has exchanged emails with opposing counsel in compliance with Rule

7.1, and Defendant’s counsel does not assent to this motion.

                                                       Respectfully submitted,
                                                       The Plaintiff

                                                       By his attorney,


                                                       /s/Robert N. Meltzer________________
                                                       Robert N. Meltzer, BBO #564745
                                                       The Mountain States Law Group
                                                       Wheelhouse at the Bradford Mill
                                                       33 Bradford Street
                                                       Concord, MA 01742
                                                       Phone: (978) 254 6289
                                                       inbox@mountainstateslawgroup.com

Dated: April 7, 2022




                                                   2
   Case 1:21-cv-12039-IT Document 20 Filed 04/07/22 Page 3 of 3




                                     CERTIFICATE OF SERVICE

       I hereby certify that on this day I served a copy of the foregoing by mailing the same by
       the electronic filing system of the US District Court.




                                                    /s/Robert N. Meltzer
Dated: April 7, 2022




                                                3
